 Fill in this information to identify the case:

  Debtor 1       Sandra Sattof

  Debtor 2       David Sattof

 United States Bankruptcy Court for the: Middle District of Pennsylvania

 Case number :    5:23-bk-00774-MJC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               NewRez LLC d/b/a Shellpoint Mortgage Servicing                             Court claim no.                                          2
     creditor:                                                                                        (if known):
     Last 4 digits of any number                                                                      Date of payment change:                      05/01/2024
     you use to identify the debtor's                                      3617                       Must be at least 21 days after date of
     account:                                                                                         this notice

                                                                                                      New total payment:                           $1,126.02
                                                                                                      Principal, interest, and escrow, if any


Part 1:       Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why:

                                Current escrow payment: $411.76                            New escrow payment: $429.41




Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                      Current interest rate:                                      New interest rate:
                      Current Principal and interest payment:                     New principal and interest payment:



Part 3:       Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                          Current mortgage payment:                                        New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                  page 1

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Debtor 1 Sandra Sattof                                                              Case number (if known)           5:23-bk-00774-MJC
                First Name              Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


   /s/ Christopher Giacinto                                                               Date   03/15/2024
    Signature



Print:                       Christopher Giacinto                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email              PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                 Notice of Mortgage Payment Change                                           page 2

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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________
                                                                                                15th     day of

March, 2024.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




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                            SERVICE LIST (CASE NO. 5:23-bk-00774-MJC)

Debtor
Sandra Sattof
2635 Blytheburn Rd
Mountain Top, PA 18707-9148

Joint Debtor
David Sattof
2635 Blytheburn Rd
Mountain Top, PA 18707-9148

Attorney
Michael A. Cibik
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
Jack N Zaharopoulos
Standing Chapter 13
(Trustee)
8125 Adams Drive, Suite A
Hummelstown, PA 17036

Asst. U.S. Trustee
United States Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102




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                                                            Shellpoint Mortgage Servicing
                                                            Servicing
                                                            PO Box 10826
                                                            Greenville, SC 29603 0826
                                                            For Inquiries: (800) 365-7107

                                                                                                       Analysis Date:                             February 20, 2024
       DAVID SATTOF                                                                                    Loan:
       SANDRA SATTOF
       2635 BLYTHEBURN RD                                                                              Property Address:
       MOUNTAINTOP PA 18707                                                                            2635 BLYTHEBURN RD
                                                                                                       MOUNTAIN TOP, PA 18707




                                            Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information     Contractual Effective May01, 2024          Prior Esc Pmt            May 01, 2023      Escrow Balance Calculation
P & I Pmt:                    $696.61                 $696.61      P & I Pmt:                   $696.61       Due Date:                             September 01, 2022
Escrow Pmt:                     $0.00                 $429.41      Escrow Pmt:                  $411.76       Escrow Balance:                                -$136.76
Other Funds Pmt:                $0.00                   $0.00      Other Funds Pmt:               $0.00       Anticipated Pmts to Escrow:                   $4,941.12
Asst. Pmt (-):                  $0.00                   $0.00      Asst. Pmt (-):                 $0.00       Anticipated Pmts from Escrow (-):             $1,220.51
Reserve Acct Pmt:               $0.00                   $0.00      Resrv Acct Pmt:                $0.00
Total Payment:                $696.61              $1,126.02       Total Payment:              $1,108.37      Anticipated Escrow Balance:                    $3,583.85

Shortage/Overage Information                  Effective May01, 2024         Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                 $5,152.88       amounts or insurance premiums, your escrow balance contains a cushion of 812.15.
Required Cushion                                              $812.15       A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Starting Balance                                   $2,098.07       balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                 $0.00       occurs. Your lowest monthly balance should not be below 858.81 or 1/6 of the
                                                                            anticipated payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from May2023 to Apr 2024. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                       Payments to Escrow                 Payments From Escrow                                           Escrow Balance
        Date           Anticipated      Actual            Anticipated       Actual             Description               Required             Actual
                                                                                         Starting Balance                2,003.60           (6,133.23)
       May 2023               411.76                            23.33          23.33   * PMI                             2,392.03           (6,156.56)
       May 2023                                                 46.66                  * PMI                             2,345.37           (6,156.56)
       Jun 2023               411.76                            23.33          23.33   * PMI                             2,733.80           (6,179.89)
       Jul 2023               411.76         411.76             23.33          23.33     PMI                             3,122.23           (5,791.46)
       Aug 2023               411.76         411.76             23.33          23.33     PMI                             3,510.66           (5,403.03)
       Sep 2023               411.76         411.76             23.33          23.33     PMI                             3,899.09           (5,014.60)
       Sep 2023                              191.63                                    * Escrow Only Payment             3,899.09           (4,822.97)
       Sep 2023                                                             2,070.99   * School Tax                      3,899.09           (6,893.96)
       Oct 2023               411.76         411.76         2,008.35                   * School Tax                      2,302.50           (6,482.20)
       Oct 2023                                             1,502.31        1,651.41   * Hazard                            800.19           (8,133.61)
       Oct 2023                                                23.33           23.33     PMI                               776.86           (8,156.94)
       Nov 2023               411.76                           23.33           23.33   * PMI                             1,165.29           (8,180.27)
       Dec 2023               411.76                           23.33           23.33   * PMI                             1,553.72           (8,203.60)
       Jan 2024               411.76                           23.33           23.33   * PMI                             1,942.15           (8,226.93)
       Feb 2024               411.76                           23.33           23.33   * PMI                             2,330.58           (8,250.26)
       Mar 2024               411.76                           23.33                   * PMI                             2,719.01           (8,250.26)
       Apr 2024               411.76                           23.33                   * PMI                             3,107.44           (8,250.26)
       Apr 2024                                             1,150.52                   * Town Tax                        1,956.92           (8,250.26)
                                                                                         Anticipated Transactions        1,956.92           (8,250.26)
       Feb 2024                                       P                       23.33      PMI                                                (8,273.59)
       Mar 2024                                       P                       23.33      PMI                                                (8,296.92)
       Apr 2024                            4,941.12 P                      1,150.52      Town Tax                                           (4,506.32)
       Apr 2024                                       P                       23.33      PMI                                                (4,529.65)
                          $4,941.12       $6,779.79        $4,987.80       $5,176.21
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An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .




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                                                                 Shellpoint Mortgage Servicing
                                                                 For Inquiries: (800) 365-7107

                                                                                                                    Analysis Date:                                   February 20, 2024
                                                                                                                    Loan:

                                       Annual Escrow Account Disclosure Statement - Projections for Coming Year
     THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
   DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
        INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

  This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
  Your unpaid pre-petition escrow Amount is $8,113.50. This amount has been removed from the projected starting balance.

  Original Pre-Petition Amouont $8,113.50, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $8,113.50.
      Date                Anticipated Payments                                                                        Escrow Balance
                         To Escrow        From Escrow           Description                                    Anticipated           Required
                                                                Starting Balance                                 3,583.85             2,098.07
  May 2024                  429.41            23.33             PMI                                              3,989.93             2,504.15
  Jun 2024                  429.41            23.33             PMI                                              4,396.01             2,910.23
  Jul 2024                  429.41            23.33             PMI                                              4,802.09             3,316.31
  Aug 2024                  429.41            23.33             PMI                                              5,208.17             3,722.39
  Sep 2024                  429.41         2,070.99             School Tax                                       3,566.59             2,080.81
  Sep 2024                                    23.33             PMI                                              3,543.26             2,057.48
  Oct 2024                  429.41         1,651.41             Hazard                                           2,321.26               835.48
  Oct 2024                                    23.33             PMI                                              2,297.93               812.15
  Nov 2024                  429.41            23.33             PMI                                              2,704.01             1,218.23
  Dec 2024                  429.41            23.33             PMI                                              3,110.09             1,624.31
  Jan 2025                  429.41            23.33             PMI                                              3,516.17             2,030.39
  Feb 2025                  429.41            23.33             PMI                                              3,922.25             2,436.47
  Mar 2025                  429.41            23.33             PMI                                              4,328.33             2,842.55
  Apr 2025                  429.41            23.33             PMI                                              4,734.41             3,248.63
  Apr 2025                                 1,150.52             Town Tax                                         3,583.89             2,098.11
                          $5,152.92        $5,152.88
   G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 3,583.85. Your starting
 balance (escrow balance required) according to this analysis should be $2,098.07.




 We anticipate the total of your coming year bills to be5,152.88. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation
   Unadjusted Escrow Payment                                           $429.41
   Surplus Reduction:                                                    $0.00
   Shortage Installment:                                                 $0.00
   Rounding Adjustment Amount:                                           $0.00
   Escrow Payment:                                                     $429.41
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the status of your mortgage loan
This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable
bankruptcy laws or who might be subject to the automatic stay of Section362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of the lien against the
collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to request information about your loan
or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or Information Request, please write to us at the following address:
Shellpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603 0826




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